






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-03-00669-CR







Jonathan R. Spurkosky, Appellant



v.



The State of Texas, Appellee







FROM THE COUNTY COURT AT LAW NO. 1 OF TRAVIS COUNTY


NOS. 646,146 &amp; 646,148, HONORABLE J. DAVID PHILLIPS, JUDGE PRESIDING






M E M O R A N D U M    O P I N I O N




The State has filed a motion to dismiss the appeal in cause number 03-03-00669-CR
(local cause number 646,146) for want of jurisdiction because the fine assessed does not exceed
$100.  See Tex. Gov't Code Ann. § 30.00027(a) (West Supp. 2004).  Appellant did not respond to
the motion even after being asked to do so by this Court.  The motion is granted and the appeal in
cause number 03-03-00669-CR is dismissed.

In cause number 03-03-00670-CR (local cause number 646,148), the State has filed
a motion asking this Court to reconsider its order granting appellant's motion for extension of time
to file notice of appeal, to deny the motion for failing to state adequate grounds, and to dismiss the
appeal for failing to give timely notice.  The State's motion to dismiss cause number 03-03-00670-CR is denied.

The State has also filed a motion to proceed without further briefing.  See Tex. Gov't
Code Ann. § 30.00027(b)(1).  Appellant did not respond to the motion.  The motion is granted and
cause number 03-03-00670-CR will be submitted for decision on the briefs filed by the parties in the
county court at law.



				___________________________________________

				David Puryear, Justice

Before Chief Justice Law, Justices Patterson and Puryear

Dismissed on State's Motion

Filed:   March 4, 2004

Do Not Publish


